ESTATE OF MARY AYLWARD, ELIZABETH AYLWARD, EXECUTRIX, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE RESPONDENT.Aylward v. CommissionerDocket No. 9270.United States Board of Tax Appeals9 B.T.A. 1057; 1928 BTA LEXIS 4315; January 3, 1928, Promulgated *4315  No estate tax having been paid by or on behalf of the estate of the prior decedent on the property claimed as a deduction by the petitioner in computing the value of the net estate, the action of the respondent in disallowing that deduction is sustained.  Louis F. Dahling, Esq., for the petitioner.  R. E. Copes, Esq., for the respondent.  MORRIS*1057  This is a proceeding for the redetermination of a deficiency in estate taxes in the amount of $1,363.54.  The issues raised by the pleadings are: (1) Whether the respondent erred in disallowing as a deduction from the gross estate of the decedent an amount alleged by the petitioner to be deductible under the provisions of section 403(a)(2) of the Revenue Act of 1921, and (2) Whether the respondent correctly disallowed certain deductions claimed as attorney fees, executrix's fees and other administrative expenses incurred by the estate.  FINDINGS OF FACT.  A short time prior to his death on February 10, 1922, Richard L. Aylward made a gift to his sister, Mary E. Aylward, of certain United States Certificates of Deposit having a face value of $75,000.  A Federal estate-tax return was duly*4316  filed for the estate of Richard L. Aylward and the transfer to Mary E. Aylward was conceded to be taxable under the law and the amount of $75,375 was set up in the return and a tax thereon was levied and paid.  Mary E. Aylward died intestate April 1, 1922, leaving as her sole heir at law, her mother, Mary Aylward.  A Federal estate-tax return was duly filed for the estate of Mary E. Aylward and the $75,000 gift which the decedent had received from Richard L. Aylward was *1058  exempted from taxation on the ground that the identical property had previously been taxed to the Estate of Richard L. Aylward.  Mary Aylward died February 15, 1923, leaving a last will and testament, and the petitioner herein was named executrix and residuary legatee and devisee.  An estate-tax return was duly filed and the sum of $75,375 was again claimed as a deduction from the gross estate, which deduction was disallowed by the respondent.  OPINION.  MORRIS: The petitioner's counsel has expressly withdrawn the second issue herein, leaving for our consideration the sole question of whether the respondent correctly disallowed as a deduction the sum of $75,375 received by the decedent from the*4317  estate of Mary E. Aylward in determining the amount of the net estate under section 403 of the Revenue Act of 1921.  The pertinent provisions of the Revenue Act of 1921 are as follows: SEC. 403.  That for the purpose of the tax the value of the net estate shall be determined - (a) In the case of a resident, by deducting from the value of the gross estate - * * * (2) An amount equal to the value of any property forming a part of the gross estate situated in the United States of any person who died within five years prior to the death of the decedent where such property can be identified as having been received by the decedent from such prior decedent by gift, bequest, devise, or inheritance, or which can be identified as having been acquired in exchange for property so received: Provided, That this deduction shall be allowed only where an estate tax under this or any prior Act of Congress was paid by or on behalf of the estate of such prior decedent, and only in the amount of the value placed by the Commissioner on such property in determining the value of the gross estate of such prior decedent, and only to the extent that the value of such property is included in the decedent's*4318  gross estate and not deducted under paragraphs (1) or (3) of subdivision (a) of this section.  This deduction shall be made in case of the estates of all decedents who have died since September 8, 1916.  It will be seen, therefore, that there may be deducted in arriving at the amount of the net estate the value of any property forming a part of the gross estate of any person who died within five years prior to the death of the decedent, where the property can be identified as having been received from such prior decedent by gift, bequest, devise or inheritance.  However, that deduction is only allowable where an estate tax under this or any prior act of Congress was paid by or on behalf of the estate of such "prior decedent." The property here in question was originally taxed to the Estate of Richard L. Aylward presumably as a gift in contemplation of death.  Upon the death of Mary E. Aylward (the person under whom the decedent herein took), the amount of the property was held to be *1059  deductible under the provisions of section 403 supra, and therefore no tax was paid by the estate of Mary E. Aylward.  *4319  In the , John Parrott died in January, 1918, leaving as a part of his gross estate certain personal property valued at $120,267.54, which passed in the first instance to his administrators and thence to his son, Edmund A. Parrott.  Edmund was killed in action in the military service of the United States in September, 1918, leaving no will.  Under the laws of California the entire property of Edmund passed to Mary Emilie Parrott, Edmund's mother, as an inheritance.  The estate of John Parrott duly paid the Federal estate tax on the sum of $120,267.54.  The estate of Edmund A. Parrott was exempted from estate tax by reason of the fact that he was killed in action while in the service of the United States.  The petitioners in that case contended that they should be allowed to deduct the sum of $120,267.54 because the deaths of John Parrott and Mary Parrott were within five years of one another; that the estate of John Parrott paid the tax, and the property on which same was paid passed to Edmund A. Parrott by will of John Parrott.  The Board in considering that case said, "We think under the 1921 Act it was intended to let only*4320  one transfer of an estate escape the tax and that was the estate of the 'prior decedent' when included in the decedent's gross estate and on which the tax had been previously paid and the estate or property was acquired by the decedent from the prior decedent by gift, bequest, device, or inheritance." The Board held in that case that no tax having been paid on the sum in controversy by the estate of the "prior decedent" it was not a deductible item under the provisions of 403(a)(2).  No tax having been paid on the property here in question by the estate of the prior decedent (estate of Mary E. Aylward), the deduction claimed is not allowable under section 403(a)(2).  Judgment will be entered for the respondent.Considered by TRAMMELL, MURDOCK, and SIEFKIN.  